                       Case 4:19-cv-07123-PJH Document 55-2 Filed 04/23/20 Page 1 of 2



            1      COOLEY LLP
                   MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
            2      TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
                   KYLE C. WONG (224021) (kwong@cooley.com)
            3      JOSEPH D. MORNIN (307766) (jmornin@cooley.com)
                   101 California Street, 5th floor
            4      San Francisco, CA 94111-5800
                   Telephone: (415) 693-2000
            5      Facsimile: (415) 693-2222
            6      DANIEL J. GROOMS (D.C. Bar No. 219124) (admitted pro hac vice)
                   (dgrooms@cooley.com)
            7      1299 Pennsylvania Avenue, NW, Suite 700
                   Washington, DC 20004-2400
            8      Telephone: (202) 842-7800
                   Facsimile: (202) 842-7899
            9
                   Attorneys for Plaintiffs
          10       WHATSAPP INC. and FACEBOOK, INC.
          11
                                                 UNITED STATES DISTRICT COURT
          12
                                             NORTHERN DISTRICT OF CALIFORNIA
          13
          14
                   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
          15       and FACEBOOK, INC., a Delaware
                   corporation,                                 DECLARATION OF CLAUDIU GHEORGHE
          16                                                    IN SUPPORT OF PLAINTIFFS’ OPPOSITION
                                                                TO DEFENDANTS’ MOTION TO DISMISS
          17                       Plaintiffs,
                                                                Date:      May 27, 2020
          18             v.                                     Time:      9:00 a.m.
                                                                Courtroom: 3
          19       NSO GROUP TECHNOLOGIES LIMITED               Judge:     Hon. Phyllis J. Hamilton
                   and Q CYBER TECHNOLOGIES LIMITED,
          20
                                   Defendants.
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  COOLEY LLP
ATTORNEYS AT LAW
                                                                                 GHEORGHE DECL. ISO OPP. MTD
 SAN FRANCISCO                                                                      CASE NO. 4:19-CV-07123-PJH
                        Case 4:19-cv-07123-PJH Document 55-2 Filed 04/23/20 Page 2 of 2



            1             I, Claudiu Gheorghe, declare:
            2             1.      I submit this declaration in support of Plaintiffs Facebook Inc. and WhatsApp, Inc.’s
            3      Opposition to Defendants’ Motion to Dismiss the Complaint in the above-captioned matter. The
            4      information in this declaration is based on my personal knowledge of this matter and information I
            5      obtained following a reasonable investigation of the events described below. If called as a witness, I
            6      could competently testify to the truth of each statement.
            7             2.      I am a Software Engineering Manager on the WhatsApp Inc. Security team located in
            8      Menlo Park, California. I have been employed by Facebook Inc. or WhatsApp, Inc. since July 30,
            9      2012. I was involved in investigating the attack described in the Complaint. At least ten engineers
          10       based in WhatsApp Inc. and Facebook, Inc.'s California offices worked on investigation and
          11       remediation for this attack. There were additional engineers working on this investigation and
          12       remediation located in the United States, as well as other locations.
          13              3.      I have reviewed the malicious code sent during the attack described in the Complaint.
          14       That malicious code was designed to cause a WhatsApp user’s mobile device to connect to a remote
          15       server not associated with WhatsApp. The IP address of the remote server was included in the
          16       malicious code.
          17              4.      In 720 instances of the attack, the remote server’s IP address was 104.223.76.220.
          18              5.      In 3 instances of the attack, the remote server’s IP address was 54.93.81.200.
          19              I declare under penalty of perjury under the laws of the United States that the foregoing is
          20       true and correct. Executed at San Mateo, California, on the 23rd day of April, 2020.
          21
                                                                         ___________________________________
          22                                                             Claudiu Gheorghe
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